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                7                        IN THE UNITED STATES DISTRICT COURT
                8
                                         FOR THE NORTHERN M R I A N A ISLANDS
                9

               10

               11   KLZNDALL T. FENNELL,                    )      Civil Action No. 09-0019
                                                            \

               12
                                          Plaintiff         )
               13
                                                            1      ORDER DENYING IN PART
                                    V.                      )      AND GRANTING IN PART
               14
                                                            )      DEFENDANTS’ MOTION
               15   MATTHEK’ T. GREGORY, etal.,             )      TO DISMISS FOR FAILURE
               16                                           )      TO STATE A CLAIM, WITH
                                          Defendants        )      LEAVE TO AMEND
               17
                                                            )
               18
                          THIS MATTER came before the court on Thursday, September 10,2007, for
               19
                    hearing of defendants’ Federal Rules of Civil Procedure 12@)(6) motion to dismiss
               20

               21   for failure to state a claim. Plaintiff appeared by and through his counsel, Mark B.
               22
                    Hanson; named Commonwealth defendants appeared by and through their counsel,
               23
                    Commonwealth Assistant Attorney General Braddock J. Huesman.
               24

               25

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                1         THE COURT, having considered the written and oral arguments of counsel,
                2
                    grants in part and denies in part the motion to dismiss.'
                3

                4
                          On July 31,2009, Commonwealth defendants moved to dismiss plaintiffs

                5   entire complaint for failure to state a claim. Fed.R.Civ.P. 12(b)(6). Secondarily, they
                6
                    argue that defendants Gregory and Baka are absolutely immune from suit and that the
                7

                8
                    other Commonwealth Assistant Attorneys General are entitled to qualified immunity.

                9         On a motion to dismiss, the court must accept as true all allegations in the
               10
                    complaint and construe them in the light most favorable to the non-moving party.
               11

               12
                    Roe u. Ciz~ofJan Dzego, 356 F.3d 1108, 1112 (Yh Cir. 2004). Generally, the court's

               13   review is limited to the contents of the complaint and any exhibits attached to it. V a n
               14
                    Bu.&zrk v. Cable News Network, Inc., 284 F.3d 977, 980 (gth Cir. 2002).2 Where, as here,
               15

               16           1

               17          Complicating the instant motion is the fact that a civd lawsuit was fded in the
                    Commonwealth Superior Court several years ago whch at least peripherally and
               18
                    perhaps integrally involve some of the issues raised in this lawsuit. This court is
               19   aware of its obligations to honor the jurisdiction of the Commonwealth Superior
                    Court and to attempt to avoid the possibhty of inconsistent findings or judgments.
               20
                    However, all parties to t h s action agree that motions have been pending in the
               21   Superior Court for more than four years and that absolutely nothng has been done
                    for more than a year by the off-island judge to whom the case has been assigned,
               22
                    despite the pleas of all parties for rulings on the pending motions and a status
               23   conference. Given these circumstances, and the fact that the parties are present
                    before this court and actively pursuing and defending, the court d proceed, as a
               24   matter of due process.
               25           2


               26
                          Pursuant to Fed.R.Civ.P. 12(d), if the court considers extrinsic matters outside
                    the complaint, it must treat the motion as a motion for summary judgment under
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                1   the complaint alleges violation of plaintiffs civil rights, vague and conclusory
                2
                    allegations are insufficient to withstand a motion to dismiss. I v v v. Bd OfRegents af
                3

                4
                    Uniu. ofAla&a, 673 F.2d 266,268 (gth Cir. 1982). Dismissal of the complaint is

                5   appropriate only if “it appears beyond doubt that the plaintiff can prove no set of
                6
                    facts in support of the claim whch would entitle plaintiff to relief.” Cody v. Gibson,
                7

                8
                    355 U.S. 41, 45-46 (1957); No. 84 Empl~er-TeamsterJointCouncil v. Amemkan West

                9   Holding Cop., 320 F.3d 920, 931 (gth Cir.), cert. denied, 124 S.Ct. 433 (2003).
               10
                                                      The Claims for Relief
               11

               12
                           Plaintiffs June 12,2009, complaint alleges four claims for relief. The first is

               13   brought pursuant to 42 U.S.C. $1983 and accuses defendants of depriving hun of the
               14
                    constitutional rights guaranteed under the First, Fifth, and Fourteenth Amendments
               15
                    of the U.S. Constitution. The second claim alleges a conspiracy against hun by all
               16

               17   defendants to obstruct the course of justice, in violation of 42 U.S.C. $ 1985(2),
               18
                    thereby violating the same constitutional rights. The thrd claim is brought pursuant
               19
                    to 42 U.S.C.   1985(3) and alleges that the defendants conspired against plaintiff to
               20

               21   deprive him of the constitutional rights afforded h m by the First, Fifth, and
               22
                    Fourteenth Amendments. The last claim for relief alleges a violation of 42 U.S.C.
               23

               24
                    S 1986; specifically, that the named defendants knew of the conspiracy to deprive
               25

               26
                    Fed.R.Civ.P. 56. In deciding t h s motion, the court has not considered extrinsic
                    matters.
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                1   plaintiff of his constitutional rights and did nothmg to prevent or aid in the
                2
                    prevention of the deprivation.
                3

               4
                                               The Facts Alleged in the Complaint

                5         According to plaintiff, h s claims arise out of hls duties as the Commonwealth
               6
                    Superior Court-appointed temporary receiver, begnning in 2002, in a case involving
               7

               8
                    the Bank of Saipan. Complaznt,77 20-24. He alleges that both the Commonwealth

               9    Attorney General’s Office and the Secretary of Commerce approached him and asked
               10
                    h m to act as receiver, due to hrs previous experience as receiver in a prior bank
               11

               12
                    receivershp. Id., 7 21. Plaintiff alleges that his investigation into the activities of the

               13   Bank, its attorneys, and its directors and shareholders and their various company
               14
                    attorneys, uncovered a labyrinthme scheme to perpetrate a fraud to enrich themselves
               15
                    at the expense of ordinary shareholders and depositors of the Bank. Id., 77 20-41.
               16

               17   During the relevant time period, Benign0 Fitial (later elected Governor of the
               18
                    Commonwealth, the position he stdl holds) was Acting President, Chef Executive
               19
                    Officer, and Chairman of the Bank’s Board of Directors. I d , 7 30. Fitial was also
               20

               21   employed at the same time by the Tan Group, whch was a major shareholder of the
               22
                    Bank. Id., 7 32. Defendant Gregory (later Commonwealth Attorney General) was
               23
                    attorney for the Tan Group and also attorney for the Marianas Public Land Authority
               24

               25   (“MPLA”), a Commonwealth agency. Id., 7 33-34.
               26
                           Up to that point in time, plaintiff alleges that he had been “workmg closely
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               1    with the Attorney General and various attorneys from that office[.]” Id., 7 27.
               2
                    However, plaintiff alleges that when the major shareholders of the Bank of Saipan
               3

               4
                    and MPLA and its attorney, Mr. Gregory, learned that he was transmitting h s

               5    findings to the Superior Court, they began a conspiracy to “discredit the Office of the
               6
                    Attorney General, Mr. Fennell, and Presiding Judge Edward Manibusan of the
               7

               a    Commonwealth Superior Court.” I d , 7 42. Ths alleged conspiracy found its first

               9    public expression in the fhng of a lawsuit against plaintiff: The Bank ofsapan v. Mr.
               10
                    Fennell, e t ai,Commonwealth Superior Court C i d Action No. 04-049A (the “BoS
               11

               12
                    lawsuit”).

               13         When the BoS lawsuit was filed, plaintiff requested representation and
               14
                    indemnification from the Commonwealth under the Public Employees Legal Defense
               15
                    and Indemnification Act (PELDIA”), 7 CMC $2301 etseq. Id., 7 44.3 His request
               16

               17   was approved by the Presiding Judge, and then-Attorney General Pamela Brown
               18
                    assigned an Assistant Attorney General to represent plaintiff.‘ I d , 7 45. Crucially,
               19

               20           3

               21          Although neither party has raised the precise issue, the court questions whether
                    the drafters of PELDIA ever contemplated that it would be used in an internecine
               22
                    dispute such as thus one; that is, the Office of Attorney General representing a
               23   “government employee” (the Superior Court had deemed plaintiff an employee of the
                    judiciary in h s capacity as court-appointed receiver) wMe simultaneously
               24   representing a government agency that takes the opposite side of the dispute.
               25           4


               26
                          PELDIA was repealed and replaced by the Commonwealth Employees’
                    Liabhty Reform and Tort Compensation Act of 2006 (“CELRTA”). Commonwealth
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               1    plaintiff alleges that he “met and conferred on several occasions with Attorney
               2
                    General Brown and other assistant attorneys general and provided them with
               3

               4
                    confidential information relating to hs defenses in the Lawsuit.” Id., 7 46.

               5          In August of 2005, MPLA, through its attorney, Gregory, was allowed by the
               6
                    Superior Court to intervene in the BoS lawsuit and MPLA then filed a separate
               7

               8
                    complaint against plaintiff Fennell and others. I d , 77 47-48.

               9          In January 2006, Benigno Fitial was elected Governor of the Commonwealth
               10
                    of the Northern Mariana Islands (a position he stlll holds). Later that month he
               11

               12
                    nominated defendant Gregory as Attorney General. Id., 77 52. As noted above, prior

               13   to his election Fitial was an executive of Tan Holdings Corporation, a major
               14
                    shareholder of the Bank of Saipan, and also served as the Bank’s Chairman of the
               15
                    Board, President, and Chef Executive Officer. Attorney Gregory was attorney for
               16

               17   both MPIA and Tan Holdings Corporation.
               18
                          Plaintiffs allegations indicate that the conspiracy to deny hun h s constitutional
               19
                    rights gained momentum, gven the positions of public power both Fitial and Gregory
               20

               21   now held. He alleges a dramatic shft in the attitude and cooperation of the Attorney
               22
                    General’s Office, because Fitial had been implicated in plaintiffs investigation and
               23
                    because plaintiff felt that Gregory had a confllct of interest in the Bank of Saipan
               24

               25

               26
                    Pub. L. 15-22. The change does not affect the court’s analysis.
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                1   matters when, during h s private practice, he acted as attorney for both Tan Holdings
                2
                    and MPLA.5 Plaintiff had refused to deal with h m at that time untd the confict was
                3

                4
                    resolved.

                5             The Office of the Attorney General, now led by Gregory, took over
                6
                    representation of MPLA, previously a semi-autonomous Commonwealth government
                7

                8
                    agency (whch Gregory had represented as a private attorney in the BoS lawsuit), even

                9   though the Office was already representing plaintiff under PELDIA as a
               10   <c
                         government employee.” Plaintiff alleges that defendant Gregory, acting in concert
               11

               12
                    with other named defendants, has conspired to take numerous actions (and omit to

               13   timely take action when required), all to his detriment. Id., 7 55, a-i.
               14
                              In sum, as stated by plaintiff in h s August 27, 2009, opposition to the motion
               15
                    to dismiss: “Mr. Fennell is claiming that Defendants’ various actions and inaction
               16

               17   were intentional and concerted efforts by Defendants (1) to deny Mr. Fennell
               18
                    indepcndent, confbct-free counsel, (2) to frustrate and to hmder Mr. Fennell’s
               19
                    exercise of h s First Amendment rights to free speech and the right to access to the
               20

               21   courts, and (3) to retaliate against Mr. Fennell for h s actions in defending humself in
               22
                    the Bank Lawsuit which also implicates Mr. Fennell’s First and Fourteenth
               23

               24
                               5

               25          In February, 2006, MPLA was dissolved and its powers and duties transferred
               26
                    to the Commonwealth Department of Public Lands (“DPL”), an agency of the
                    executive branch on the CNMI government.
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                1   ,Imendment rights to Free Speech and due process of law.”
                2
                                                             Analysis
                3

                4
                          As an initial matter, it is settled law that the Commonwealth of the Northern

                5   Mariana Islands (“CNMI”),its governmental entities, and officials sued in their
                6
                    official capacities are not “persons” withm the meaning of      1983 and cannot be held
                7

                e   liable under the statute. See Ngiraingaas u. Sancbeg 495 U.S. 182, 191-192 (1990);

                E   DeNieva v. Reyes, 966 F.2d 480,483 (Yh Cir. 1992); Magana v. C N M I , 107 F.3d 1436,
               IC
                    1447 (9“’ Cir. 1997). There is but one exception to the general rule that the CNMI, its
               11

               12
                    governmental entities, and officials sued in their individual capacities are not

               12   “persons” withm the meaning of 42 U.S.C. $1983: An official of a state or territory,
               14
                    when sued for prospective injunctive relief in lus or her official capacity, is considered
               I!
                    a “person” for $ 1983 purposes. Guam SOC.$Obstetricians e9 Gyfiecologistsv. Ada,962
               1E

               17   F.2d 1366, 1371 (Yh Cir.), cert. denied, 506 U.S. 1011 (1992). T h s is because “official-
               1E
                    capacity actions for prospective relief are not treated as actions against the State.”
               1:
                    Kentucky u. Graham, 473 U.S. 159, 167 n.14 (1985).
               2c

               21         Accordingly, all claims for damages against the named Commonwealth
               22
                    defendants in their official capacities are dismissed with prejudice.
               2:
                    Claim under 42 U.S.C. ( 1983
               24

               25   A.     First Amendment Violation
               2E
                           To prevail on a $ 1983 free speech claim, plaintiff must show that (1) he
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                1   engaged in constitutionally-protected speech, (2) government officials took adverse
                2
                    action against h m as a result of h s speech, and that (3) h s speech was a “substantial
                3

                4
                    and motivating factor” for the adverse action. See Board @Counp Comm’rs, Wabaunsee
                E
                    County, Kan.   2’.   Umbehr, 518 U.S. 668, 675 (1996). The burden is on plaintiff to show
                E
                                                                                        Sch. Dist. Bd.
                    he engaged in constitutionally-protected conduct. Mt. HealthJyC i t ~                af
                /


                E
                    Edzu. u. Doyje, 429 U.S. 274,287 (1977).

                5          It is also unlawful for state actors to hmder one’s right to access to the courts.
               IC
                    See e.g. Boddie v. Connecticut, 401 U.S. 371 (1971); Soranno’s Gasco, Inc. V.Morgan, 874
               11

               1;
                    F.2d 1310, 1314 (gth Cir. 1989) (right of access to the courts is subsumed under the

               1:   First Amendment right to petition the government for redress of grievances).
               1L
                           Plaintiff has alleged that defendant Gregory, as a state actor when acting as
               1:
                    attorney for MPLA, a Commonwealth government agency, and continuing upon h s
               If

               1;   assumption o f the position of Attorney General, and the other named defendants,
               It
                    acting in their capacities as assistant attorneys general, conspired to deprive h m of h ~ s
               1s
                    right to free speech. Here, the constitutionally-protected speech was plaintiff acting
               2(

               2’   as receiver for the Bank of Saipan and transmitting allegedly damaglng information to
               2:
                    the Superior Court, some of whrch was about persons who would later become
               2:
                    Commonwealth elected and appointed officials. First, defendants allegedly tried to
               21



               2!   silence plaintiff by initiating unfounded attacks against hin the Bank of Saipan
               2f
                    lawsuit, by filing unmeritorious pleadings intended to delay the proceedings and
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               1    obfuscate the role of certain parties in the Bank of Saipan lawsuit. The second alleged
               2
                    deprivation of plaintiffs right to free speech was defendants’ dual failure to act as hs
               3

               4
                    counsel without a confllct of interest and the delay in the certification that he was

               5    entitled to representation under CELRTA. Plaintiff alleges that he was effectively
               6
                    silenced by these two stratagems, thus violating h s right to access to the courts.
               7

               8
                          Accepting all these allegations as true, the court concludes that plaintiff has

               9    made out a colorable claim under 42 U.S.C. $ 1983 for violation of hs First
               10
                    Amendment right to free speech and unfettered access to the courts. Plaintiff has
               11

               12
                    alleged a conspiracy to file a lawsuit against h m to silence h m and that the

               13   conspiracy continued when Gregory became Attorney General and refused to
               14
                    recognize a confict of interest or seek guidance from the court. Defendants’ motion
               15
                    to dismiss the First Amendment claim is denied.
               16

               17   B.    Fourteenth Amendment Violation
               18
                          Section 1983 was designed in part to prevent the states from violating an
               19
                    individual’s right to due process, applicable to the states through the Fourteenth
               20

               21   Amendment. See e.g. Car9 u. Pipbus, 435 U.S. 247 (1978). State law may, in h t e d
               22
                    circumstances, create an entitlement interest-a   property interest-that   is protected
               23
                    by the Due Process Clause of the United States Constitution. See Town 0fC‘a.de Rock u.
               24

               25   Gonzples, 545 U S . 748,768 (2005). “The Fourteenth Amendment’s procedural
               26
                    protection of property is a safeguard of the security of interests that a person has
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                1   already acquired in specific benefits.” Bd. $Regents u. Roth, 408 US.564, 569-70
               2
                    (1972). “These interests-property        interests-   may take many forms.” Id. at 576.
               3

               4
                    “To have a property interest in a benefit, a person clearly must have more than an

               5    abstract need or desire for it. He must have more than a unilateral expectation of it.
               6
                    He must, instead, have a legtimate claim of entitlement to it.” Id. at 576.
               7

               8
                              As the court reads the allegations in the complaint, plaintiff claims that, as a
                    c<
               9         government employee,” he had a legtimate claim of entitlement to hls “property
               10
                    interest” in the Commonwealth-created right to legal representation by the
               11

               12
                    Commonwealth (via PELDIA). Necessanly included in that right is that his legal

               13   representative be without a confict of interest.
               14
                              Plaintiff alleges that defendant Gregory, whde Attorney General of the
               15
                    Commonwealth, together with the other named assistant attorneys general, acted in
               16

               17   their official and personal capacities to deprive plaintiff of this Commonwealth law-
               18
                    created right. As noted earlier, the alleged confhct arose upon Gregory’s appointment
               19
                    as Attorney General, because he had represented government agency MPLA as a
               20

               21   private attorney when it intervened in the Bank of Saipan lawsuit and because the
               22
                    Office of Attorney General then substituted in for MPLA as attorney of record.
               23
                    C.        Due Process
               24

               25             Fourteenth Amendment violations actionable under 42 U.S.C. 1983 also
               26
                    include violations of substantive due process. In Danzels u. Williams, 474 U S . 327
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                1   (1986), the Supreme Court held that the Due Process Clause requires for its violation,
                2
                    whether in procedural or substantive due process cases, some abuse of governmental
                3

                4
                    power.

                5          The complaint alleges that defendant Gregory deprived plaintiff of a
                6
                    substantive due process right by fahng, as Attorney General, not only to acknowledge
                7

                8
                    the confhct, but to actively thwart plaintiffs a b d q to defend against the Bank of

                9   Saipan lawsuit by using confidential information plaintiff had already shared with the
               10
                    attorneys at the Office of the Attorney General, by refusing to make a timely decision
               11

               12
                    on his request for non-conficted counsel, and by continuing, as Attorney General,

               13   the spurious lawsuit Gregory had filed on behalf of MPLA as its attorney when he
               14
                    was in private practice.
               15

               16
                          Although the issue arises in an unusual and novel context, the court is

               17   persuaded that plaintiff has sufficiently alleged a violation of plaintiffs rights to free
               18
                    speech, equal protection of the laws, and substantive due process. Accepting
               19
                    plaintiffs allegations as true, he has alleged a conspiracy by defendants, one part of
               20

               21   whrch was to denigrate h m by fhng spurious pleadings in an attempt to effectively
               22
                    silence lam by diverting attention from the malfeasance of those involved with the
               23
                    Bank of Saipan and the other of whch was to ignore a patent confict of interest and
               24

               25   by refusing to timely respond to hrs requests that hrs confict concerns be addressed.
               26
                    Accordingly, defendants’ motion to dismiss plaintiffs $ 1983 claim is denied.
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                1         Plaintiff also makes a claim for “[a] temporary and permanent injunction
                2
                    against the Office of the Attorney General from representing parties in or otherwise
                3

                4
                    participating in the Lawsuit.” Such a claim is permissible under 42 U.S.C. $ 1983 and,

                5   accepting the allegations of the complaint as true, defendants may have a non-curable
                6
                    confict of interest.
                7

                8
                    The 42 U.S.C. $ 1985(2) and (3) ConsDiracv Claims

                9         An element of conspiracy claims under $ 1985 is that the defendants were
               10
                    motivated by “some racial, or perhaps otherwise class-based invidiously
               11

               12
                    discriminatory animus behmd the conspirators’ action. The conspiracy. . .must aim at

               13   a deprivation of the equal enjoyment of rights secured by the law to all.” Gmfltz z/.
               14
                    Breckenridge, 403 U.S.
                                         88, 103 (1971). Plaintiff has failed to plead that he was a
               15
                    member of such a class. For that reason, the $ 1985(2) and (3) claims are dismissed.
               16

               17   The 42 U.S.C. 8 1986 Claim
               18
                          If no valid claim has been pleaded under $1985, a claim under $1986 wdl not
               19
                    lie. See McCalden   z/.   Calzjirnia ljbraly ass'^, 955 F.2d 1214, 1223 (9* Cir. 1990).
               20

               21   Accordingly, plaintiffs 42 U.S.C. $ 1986 claim for relief is dismissed.
               22

               23

               24

               25

               26


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                1                                  Absolute and Qualified Immunity
                2
                           Finally, the court is also confronted with the seemingly mutually-exclusive
                3

                4
                    commands that on a motion to dismiss all facts alleged in the complaint are assumed

                5   to be true and that absolute and qualified immunity are to be determined as early in
                6
                    the litigation as practical.
                7

                0
                           The court can say at t h s juncture that Commonwealth defendant attorneys

                9   general could not be entitled to absolute immunity in the $ 1983 claim. Only in
               10
                    “initiating a prosecution and in presenting the State’s case” is a prosecutor absolutely
               11

               12
                    immune. Imbler u. Pachtman, 424 U.S. 409,418-424,96 S.Ct. 984 (1976). Because t h s

               13   lawsuit does not involve a criminal prosecution, none of the Attorney General’s
               14
                    Office defendants would be entitled to absolute immunity.
               15

               16
                           “[GIovernment officials performing discretionary functions generally are

               17   shelded from liabllrty for civd damages insofar as their conduct does not violate
               18
                    clearly established statutory or constitutional rights of whch a reasonable person
               19
                    would have known.” Harlow u.Fitgeralu’, 457 U.S. 800, 818 (1982). The court must
               2c

               21   first determine whether the plaintiff has alleged a constitutional violation. Sieged u.
               22
                    Gilly, 500 U.S. 226,232 (1991). If a constitutional violation has been properly
               23
                    alleged, then the court must determine whether the conduct violated “clearly
               24

               25   established statutory or constitutional rights of whch a reasonable person would have
               26
                    known.” Id A right is clearly established if “[tlhe contours of the right [are]
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                1   sufficiently clear that a reasonable official would understand that what he is doing
                2
                    violates that right. This is not to say that an official action is protected by qualified
                3

                4
                    immunity unless the very action in question has previously been held unlawful,

                5   . . . but it is to say that in light of pre-existing due process law the unlawfulness must
                6
                    be apparent.” Anderson u. Creigbton, 483 U.S. 635, 640 (1987).
                7

                8
                           In Anderson, the Court explained that although the “right to due process” is

                9   “clearly established,” the contours of that right may not be sufficiently clear
               10
                    depending on the circumstances of the violation. Id. at 639. Instead, a court would
               11

               12
                    need to analyze the objective circumstances of the violation in light of pre-existing

               13   law to determine whether the official should have known that the action was
               14
                    unconstitutional. Id. In sum, a public official has qualified immunity unless the law is
               15
                    clear on its face or a lack of clarity has been elucidated in the case law.
               16

               17          As pleaded, the $ 1983 claim for relief indicates that, if proven, attorney
               18
                    defendants violated, if in a new and novel way, the clearly established constitutional
               19
                    rights of freedom of speech, substantive due process, and equal protection of the laws
               20

               21   and they would thus not be entitled to qualified immunity.
               22

               23

               24

               25

               26


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                1         In conclusion, defendants’ motion to dismiss for failure to state a claim is
                2
                    granted in part and denied in part, as follows:
                3

                4
                           1. All claims for damages against the named Commonwealth defendants in

                5   their official capacities are dismissed with prejudice;
                6
                          2. The motion to dismiss the claims for relief under 42 U.S.C. % 1983 for
                7

                8
                    violation of plaintiffs rights to free speech, substantive due process, and equal

                9   protection of the laws is denied;
               10
                           3. The motion to dismiss the prayer for injunctive relief to prevent the
               11

               12
                    Commonwealth Office of Attorney General from any further representation of any

               13   party in the Superior Court proceedings is denied, subject to being renewed;
               14
                           4. Defendants’ motion to dismiss the claims under 42 U.S.C. 1985(2) and (3)
               15
                    is granted;
               16

               17          5. Defendants’ motion to dismiss the claim under 42 U.S.C. $ 1986 is granted;
               18
                           6. Defendants are not entitled to absolute immunity; and,
               19
                           7. Defendants are not entitled to qualified immunity based upon the
               20

               21   information presently before the court, but may renew their motion after discovery.
               22
                          Plaintiff shall have fourteen calendar days from the day after entry of t h s order
               23
                    in whch to file an amended complaint, should he so choose. If no amended
               24

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               1    complaint is filed, defendants shall have an addltional fourteen days in which to file
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                    an answer or other responsive pleading.

               L
                          DATED i h s 28th day of September, 2009.

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